






Opinion issued March 1, 2007









In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-06-01072-CV

____________


BENITO GUTIERREZ, Appellant


V.


ZURICH AMERICAN INSURANCE COMPANY, Appellee






On Appeal from the 234th District Court

Harris County, Texas

Trial Court Cause No. 2005-60896






MEMORANDUM OPINION

	The parties have filed a joint motion to dismiss their appeal.  No opinion has
issued.  Accordingly, the motion is granted, and the appeal is dismissed.  Tex. R.
App. P. 42.1(a)(2).

	All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.

PER CURIAM

Panel consists of Chief Justice Radack and Justices Jennings and Bland.


